       Case 8:04-cr-00297-SDM-TGW Document 189 Filed 06/22/05 Page 1 of 6 PageID 312
A 0 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAhlPA DIVISION



UNITED STATES OF AMERICA                                      JUDGRlENT IN A CRIRUNAL CASE

                                                              CASE NUMBER: 8:0;1-cr-297-T-23TGW
                                                              UShl NUMBER: 42135-018



OSCAR ENRIQUE VIRULA ARREDONDO
                                                              Defendant's Attorney: Cirnos A. Angelis

THE DEFENDANT:

& pleaded guilty to counts ONE and TWO of the Supcrscding Indictment.


TITLE & SECTION                     NATURE OF OFFENSE                                    OFFENSE ENDED             COUNT

1 6 Appendix U.S.C. $3 1903(a), Conspiracy to Possess with Intent to Distribute          June 28, 2004             ONE
1903(g), and 1903Q); and        Five Kilograms or more of Cocaine while on
21 U.S.C. S 960(b)(l)(B)(ii)    board a Vessel Subject to the Jurisdiction of the
                                United Statcs

46 Appendix, U.S.C. $3 1903(a) Possess with Intent to Distribute Five (5) Kilograms June 28, 2004                  TWO
and 1903(g); 18 U.S.C. $ 2: and or more of Cocaine while on board a Vessel Subject
21 U.S.C. 8 960(b)(l)(B)(ii)    to the Jurisdiction of the United States

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United Statcs Attorney for this district within 30 days of any change
of name, residence, or mailing address until all tincs, restitution, costs, and spccinl assessments imposed by this judgn~entare fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United Statcs Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Senrence: June 20, 2005




                                                                                                            I
                                                                                    STEVEN D. MERRYDAY
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: June    37        2005
        Case 8:04-cr-00297-SDM-TGW Document 189 Filed 06/22/05 Page 2 of 6 PageID 313
A 0 245B (Rev 12/03) Sheet 2 - Imprisomlent
Defendant:         OSCAR ENRIQUE VIRULA ARREDONDO                                                           Judgment - Page 2 of 5
Case No.:          8:04-cr-297-T-23TGW



               The defendant is hereby conlmitted to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED TWENTY-ONE (121)MONTHS as to counts one and two of the
Supersedhg Indictment, both terms to run concurrently.




-
X The court makes the following reco~llmendationsto the Bureau of Prisons: that the defcndant be placed in a correctional
facility in the State of California.



     The defendant is remanded to the custody of the United States Marshal.
- The defendam shall surrender to the United States Marshal for this district.
          - at - a.m.1p.m. on -.
          - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
             before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Oflice.



                                                                    RETURN
          I have executed this judgment as follows:




          Defendant delivered on                                                 to

at                                                                        , with a certified copy of this judgment.


                                                                                         United States Marshal

                                                                        By:
                                                                        Deputy Marshal
       Case 8:04-cr-00297-SDM-TGW Document 189 Filed 06/22/05 Page 3 of 6 PageID 314
A 0 245B (Rev. 12/03) Sheet 3 - Supervised Releasc
Defendant:           OSCAR ENRIQUE VIRULA ARREDONDO                                                          Judgment - Pagr 3of 6
Case No.:            8:01-cr-297-T-23TGW

                                                         SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term oT SIXTY (60) MONTHS as to
counts one a n d two of thc Supcrscding Indictment, both terms to run concurrently.

        The defendant shall rcport to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 5 921.

X
-        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

X
-        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
         substance abuse.

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.

          The defendant shall conlply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not lcavc thc judicial district without the permission of the co~trtor probation officcr;
          thc dcfcndant shall rcport to the probation officcr and shall submit a truthful and complctc writtcn rcport within the first five days
          of each month;
          thc dcfcndant shall answer truthfdly all inquiries by the probation officcr and follow thc instructions of thc probation officer;
          the dcfcndant shall support his or hcr dcpcndents and meet other family responsibilities;

             the defendant shall work regularly at a lawful occupation, unless excused by thc probation officer for schooling, training, or other
             acceptablc rcasons;
          the defendant shall notify thc probation officer at least ten days prior to any change in rcsidcncc or cmployrncnt;
             the defendant shall rcfrain from cxccssivc usc of alcohol and shall not purchase, posscss, usc. distribute. or administer any
             controlled substancc or any paraphernalia related to any conrrolled substances. except as prcscribcd by a physician:
             the defendant shall not frequent placcs whcre controlled substances are illegally sold, used, distributcd, or administered;
          the defendant shall not associate with any persons cngaged in criminal activity and shall not associatc with any pcrson convicted
          of a felony. unless granted pcrmission to do so by the probation officer:

          thc dcfcndant shall pcnnit a probation officer to visit him or her at any timc at homc or elsewhcrc and shall permit confiscation of
          any contraband observcd in plain vicw of the probation officer;
             the defendant shall notify thc probation officcr within seventy-t\vo hours of bcing arrcstcd or qucstioncd by a law cnforccment
             officcr;
          the defendant shall not cntcr into any agrccmcnt to act as an informer or a spccial agcnt of a law cnforccmcnt agcncy without the
          pcrmission of the court:
             as directed by thc probation officcr, thc dcfcndant shall notifythird parties ofrisks that may bc occasioned by the defcndant's criminal
             rccord or personal history or characteristics and shall permit the probation officer to makc such notifications and to confirm the
             defendant's compliance with such notification requirement.
      Case 8:04-cr-00297-SDM-TGW Document 189 Filed 06/22/05 Page 4 of 6 PageID 315
A 0 245B (Rev. 12103) Sheet 3C - Supervised Release

Defendant :       OSCAR ENRIQUE VIRULA ARREDONDO                                                      Judgment - Page 4 of 6
                                                                                                                           --
Case No.:         8:M-cr-297-T-23TGW
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with thc lbllowing additional conditions of supervised release:

X
-        If the defendant is deported, he shall not reenter the United States without the express permission of the appropriate
         govern~ncntalaulhority.
      Case 8:04-cr-00297-SDM-TGW Document 189 Filed 06/22/05 Page 5 of 6 PageID 316
A 0 145B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

Defendant:         OSCAR ENRIQUE VIRULA ARREDONDO                                                   Judgment - Page 5 of 6
Case No.:          8:04-cr-297-T-23TGW

                                         CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6 .
                            Assessment                         -
                                                               Fine                        Total Restitution

         Totals:                                               $ waived


-        The determination of restitution is deferred until -.                      Jzrclgment in a Crinlinal Case ( A 0 245C) will
                                                                          An A~ne~lded
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. $
                                                                      d
         3664(i). all non-federal victims must be paid before the nited States.
                                                                                                             Priority Order or
                                               *Total                        Amount of                       Percentage of
 Name of Pavee                               Amount of Loss               Restitution Ordered                Pavmen t




                            Totals:          3-!                          c
-        Restirution amount ordered pursuant to plea agreement S
 -       The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or t-me is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 8 3612(f). All of the payment options on Sheet
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.8 3612(g).
-        The court determined that the defendant does not have the ability to pay inlerest and it is ordered that:
        -          the interest requirement is waived for the - fine      - restitution.
        -          the interest requiremen1 for the - f i e - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 110A, and 113A of Title 18 for the offenses
conmitred on or after Septernbur 13, 1994. but before April 23, 1896.
       Case 8:04-cr-00297-SDM-TGW Document 189 Filed 06/22/05 Page 6 of 6 PageID 317
A 0 245B (Rev 12/03)Sheet 6 - Schedule of Payments

Defendant:        OSCAR ENRIQUE VIRULA ARREDONDO                                                    Judgment - Page 6of 6
Case No.:         894-cr-297-T-23TGW


                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X Lump sum payment of $ 200.00 due immediately, balance due
                  -not later than            , Or
                            -in accordance - C, - D, - E or - F below: or
B.       -        Payment to begin inmediately (may be combined with -C, -D, or -F below); or
C.       -        Payment in equal                 (e.g., weekly, monthly, quarterly) installnlents of S            over a
                  period of           e.g., months or years). to commence              days (e.g., 30 or 60 days) after the
                  date of this judgme(nt: or
D.                Payment in equal                ( e . k weekly, monthly, quarterly) installments of $             over a
                  period of             , (e.g., mon s or years) to commence                     (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision; or
E.       -        Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of crinlinal monetary penalties:




         H                              F
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the clerk o le court. ' !d
Unless the court has expressly ordered otherwise, if this judgment imposes a period of im risonnient, payment of criminal
monetar penalties is due during im risonment. All criminal monetary penalties, except lose a ments made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joinr and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
